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AO 199A (Rev. 1|/08) Order Setting Conditions of Release Page l of 3 Pages

 

UNITED STATES DISTRICT COURT
for the
Eastern District of California

   

FEBl L 2013

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United States of America ) EASTERN'o\sTaicT oF
v. ) B" orputv stem
oscAR RooRlGuEz ) Case NO_ 1:13-mj-00036 sKo
)
Dejizndant )

ORDER SETTING CONDITIONS OF RELEASE
lT IS ORDERED that the defendant’s release is subject to these conditions:
(l) The defendant must not violate any federal, state or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § l4l35a.

(3) The defendant must immediately advise the court, defense counse|, and the U.S. attorney in writing before any
change in address or telephone number.

(4) The defendant must appear in court as required and must surrender to serve any sentence imposed

The defendant must appear at (;‘fb[ank_ 10 be no¢,'f,ed) U.S. Dl`Sl|'iCl COurlhOUSe, 2500 Tu|are, Fre$no, CA
P!ace

Gth lloor, Courtroom 8 On February 28, 2013, at 1:30 p.m.
Da!e and Ti`me

 

 

Re|ease on Personal Recogoizance or Unsecured Bond
lT lS FURTHER ORDERED that the defendant be released on condition that:
( / ) (5) The defendant promises to appear in court as required and surrender to serve any sentence imposed.
( ,/ ) (6) The defendant executes an unsecured bond binding the defendant to pay to the United States the sum of

Ten Thousdand dollars ($ 10,000.00 )
in the event of a failure to appear as required or surrender to serve any sentence imposed.

 

DlSTRlBUTlON: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S. MARSHAL

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RODRIGUEZ, Oscar

1:13mj0036
ADDITIONAL CONDITIONS OF RELEASE

Upon finding that release by one ofthe above methods will not by itselfreasonably assure the appearance ofthe defendant
and the Safety ofother persons and the community, it is FURTHER ORDERED that the release ofthe defendant is subject to the
conditions marked below:

(X) (7) The defendant is placed in the custody of:

Name of person or organization Ernesto Rodrig uez, Jr. Gabriel Rodrigeuz

    

 

 

 

who agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of the defendant at all scheduled court proc o'ng ~ l c notify the court
immediately in the event the defend nt violates any conditions of release or disappears. "
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(X) (S) The defendant sha|l:

(X) (a) maintain or actively seek employment, and provide proofthereofto the PSO, upon request.

( } (b) maintain or commence an educational program.

(X) (c) abide b the followin restrictions on his ersona| associations lace ofabode or travel:

 

Reside at a residence approved bv the PSO. and not move or be absent from this residence for more than 24 hrs.
without prior approval ofPSO; travel restricted to Fresno Countv , unless otherwise approved in advance bv PSO.

 

 

 

 

( ) (d) avoid all contact with the following named persons, who are considered either alleged victims or potential witnesses:
unless in the presence ofcounsel or otherwise approved in advance by the PSO.

(X) (e) report on a regular basis to the following agency:
Pretrial Services and complv with their rules and regulations.

( ) (f) comply with the following curfew:

(X) (g) refrain from ossessin a firearm destructive device or other dan erous wea on. Additionall ou shall rovide
written proofof divestment ofall firearms currentlv under vour control.

(X) (h) refrain fromANY use of alcohol. and anv use or unlawful possession of a narcotic drug and other controlled

 

substances defined in 21 USC §802 unless prescribed bv a licensed medical practitioner. However, medicri'f marifunna,
prescribed or not, mav nor be used.

 

( ) (i) undergo medical or psychiatric treatment and/or remain in an institution, as follows: lncluding treatment for drugfalcohol
$F?G§;d;§§§icy, and pay for costs as approved by the PSO.

(X) (j) a bond or an a reement to forfeit u on failin to a ear or failure to abide b an ofthe conditions of

A release the followin sum of mone or desi nated ro ert : $9,000 unsecured bond signed bv Sidronia Valdez and

 

 

a 51,000 unsecured bond signed bv Ar|eta Nunez, to be replaced bv a $l,(ltlll cash bond when Ms. Nunez income tax

re fuxi_1d is received.

 

 

 

 

( ) (k) post with the court the following indicia or ownership of the above-described property, or the following amount or
percentage ofthc above-described money:

( ) (l) execute a bail bond with solvent sureties in the amount of$

( ) (m) return to custody each (week)day as of 0'clock after being released each (wcck)day as of o'cloek for employment,
schooling, or the following limited purposc(s):

( ) (n) surrender any passport to the Clerk, United States District Court, prior to your release from custody.

(X) (o) obtain no passport during the pendene\,r of this case.

(X) (p) you shall submit to drug or alcohol testing as approved bv the Pretrial Services Officer. Vou shall pay all or part of
the costs of the testing services based upon your ability to psith determined bv the Pretrial Services Officer.

(X) (q) report anv prescriptions to the PSO within 48 hours ofreceipt.

(X) (r) report in person to the Pretrial Services Agencv on the first working dav following vour release from custodv.

 

(Copies to: Defendant, US Atforney, US l\’larshal, Pretrial Services)

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Advice of Penalties and Sanctions
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTION:

Violation of any ofthe foregoing conditions ofrelease may result in the immediate issuance ofa warrant for the
defendant's arrest, a revocation of release, an order of detention, as provided in 18 USC §3148, and a prosecution for
contempt as provided iii 18 USC §401 which could result in a possible term of imprisonment and/or a fine.

The commission of any offense while on pretrial release may result in an additional sentence upon conviction for
such offense to a term of imprisonment of not less than two years nor more than ten years, if the offense is a felony; or a term
of imprisonment of not less than ninety days nor more than ninety days or more than one year, if the offense is a
misdemeanor. This sentence shall be consecutive to any other sentence and must be imposed in addition to the sentence
received for the offense itself.

18 USC §1503 makes it a criminal offense punishable by up to five years injail and a $250,000 fine to intimidate or
attempt to intimidate a witness, juror or officer of the court; 18 USC §1510 makes it a criminal offense punishable by up to
five years in jail and a 8250,000 fine to obstruct a criminal investigation; 18 USC §1512 makes it a criminal offense
punishable by up to ten years in prison and a $250,000 fine to tamper with a witiiess, victim or informant; and 18 USC
§1513 makes it a criminal offense punishable by up to ten years in jail and a $250,00 fine to retaliate against a witness,
victim or informant, orthreaten or attempt to do so.

lt is a criminal offense under 18 USC §3 1461 if after having been released, the defendant knowingly fails to appear
as required by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the defendant
was released in connection with a charge of, or while awaiting sentence, surrender for the service of a sentence, or appeal or
certiorari after conviction, for;

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, the
defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
defendant shall be fined not more than $250,000 or imprisoned for not ore than five years, or both;

(3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
years, or both;

(4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail posted.

ACKNOWLEDGMENT OF DEFENDAN'I`

I acknowledge that I am the defendant in this case and that l am aware of the conditions of release l promise to
obey all conditions of release, to appear as directed, and to surrender for servic/e of any sentence imposed. l am aware of the
penalties and sanctions set forth above.

 

 

DIRECTIONS TO UNITED STATES MARSI'IAL
(X) The defendant is ORDERED,released after processing.
( ) The United States Marshal is ORDERED to keep the defendant in custody until notified by the Clerk of Judicial

Officcr that the defendant has posted bond and!or complied with all other conditions for release. The defendant
shall be produced before the appropriate .Tudicial Officer at the time and place specified, if still in custody.

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sheila rt cba-ia U.s. Maginrare Judge

COPY: DEFENDA.NT U.S. ATTORNEY U.S. MA.RSHAL PRETRI.A]_, SERVlCE

